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 2
 3                        IN THE UNITED STATES DISTRICT COURT FOR THE
 4                                EASTERN DISTRICT OF CALIFORNIA
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 6
 7   UNITED STATES OF AMERICA,                  )   1:06-cr-00269 OWW
                                                )
 8                         Plaintiff,           )
                                                )   MOTION TO DISMISS
 9                                              )   (Fed. R. Crim. P. 48(a))
                            v.                  )
10                                              )
     CIRIACO MORA,                              )
11                                              )
                           Defendant.           )
12                                              )
                                                )
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14
                                               ORDER
15
16
            IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as to
17
     Ciriaco Mora only.
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     Dated: February 9, 2007                          /s/ Oliver W. Wanger
19                                                    Honorable Oliver W. Wanger
                                                      U.S. District Judge
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